AFFIDAVIT OF PERSONAL SERVICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

oo Civil Action No. 2:23-cv-00051 JMA-LGD

DAVID GOLDSTEIN,
Plaintiffs,
- against -
COUNTY OF SUFFOLK, et al.,
Defendants.

STATE OF NEW YORK )
) ss
COUNTY OF SUFFOLK )

RICHARD W. YOUNG, SR., ESQ., being duly sworn deposes and says that:

I am not a party to this action. 1 am over eighteen (18) years of age, and I reside in Suffolk County, New
York.

On Wednesday, January 18, 2023, at approximately 1:30 P.M., your deponent delivered four copies the
following litigation documents upon “Patty” from the Suffolk County Police Department Legal Bureau at
the Suffolk County Police Department Headquarters, Yaphank Avenue, Yaphank, New York, who accepted
service on behalf of Suffolk County Police Commissioner Rodney K. Harrison, Suffolk County Commanding
Officer of the Pistol Licensing Bureau Lieutenant Michael Komorowski, Suffolk County Police Officer Ciara
Plihcik and Suffolk County Police Officer/Pisto] Licensing Bureau Police Officer Daniel Jugan.

The documents served were the Scheduling Order, Order to Show Cause, Summons in a Civil Action, Civil
Cover Sheet, Verified Complaint, Exhibits, Memorandum of Law, Affirmation in Support and Affidavit in
Support.

I advised Patty that there was a Scheduling Order and that someone had to be present before the Honorable
Joan M. Azrack on 1/20/23 at 9:30 a..m. in Courtroom 920 at the federal courthouse in Central Islip. Patty
would accept four copies for service as a representative of the SCPD Legal Bureau.

Wherefore, upon information and belief, the defendant is not in the military service of the United States of
America or of the State of New York, in any capacity whatsoever, as that term is defined in either the Federal
or State statute.

The following additional observations were made by me in conjunction with: nghe

x 5
, Richaed ng, eas,
Subscribed and sworn

to before me on January 18, 2023

Notary Public

Melinda OSIK-
horany Pobiic SHALE FNQOYDK

SiO K OUD
LIC AOL 05Y95E 192

Con. Exp. 0b-1§-2026
